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USDC SDNY

                                                                  MEMO ENDORSED
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                                          October 21, 2020
        Via ECF

        The Hon. Valerie E. Caproni
        United States District Judge
        Sothern District of New York
        40 Foley Square
        New York, NY 10007

                      Re:    USA vs. Jason Moye
                             15-cr-537 (VEC)
                             Re-Sentencing hearing

        Dear Judge Caproni:

             The current re-sentencing date for Jason Moye is November 12,
        2020 with resentencing submissions due on October 23, 2020.

             I respectfully request that Your Honor adjourn the re-
        sentencing submission deadline and re-sentencing date for another
        month due to client contact availability during the COVID-19
        pandemic.

             I believe that I will be able to complete Mr. Moye’s
        sentencing submission in the next month, provided there are no new
        travel restrictions imposed due to the pandemic.

             Samson Enzer, AUSA, on behalf of the government, does not
        object to this adjournment request.

             I thank Your Honor for your consideration of this adjournment
        request. I hope this letter finds you well and well, I remain

                                           Respectfully yours,
                                           /s/Thomas Ambrosio
                                           Thomas Ambrosio


        cc:    All Counsel via ECF
               Jason Moye (via regular mail)
        _____________________________________________________________________________
        750 Valley Brook Avenue  Lyndhurst  New Jersey 07071  201.935.3005  201.935.7667 ∞ fax
                                         tambrosio@legal750.com
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     Application GRANTED. The resentencing currently
     scheduled for November 12, 2020 is adjourned to
     December 17, 2020 at 11:00 a.m. Sentencing
     submissions are due by December 3, 2020.
     SO ORDERED.


                                                       10/21/2020
     HON. VALERIE CAPRONI
     UNITED STATES DISTRICT JUDGE
